 

 

UNITED STATES DISTRICT COURT Case No. | “OD CY 0 qG7
i\- ; 1

MIDDLE DISTRICT OF NORTH CAROLINA

 

 

Name of Plaintififs}: rT
, REPORT
Sxlyistur Mon Tr Foto, ;
hlaran cL eal” | OF
Name of Defendant(s): oO MEDIATOR

Tol IN6OIN an al 4 (For Placement on the

CM/ECF Docket}
Mediwornane TApmas (LN)
Telephone no 340) . ou ‘ TAS ( This is an Interim Report. A final report is to be

. : éd after resumption of the mediation
EMal Ades CLL NCO OLN Mato BRS

 

 

 

 

 

 

 

 

 

 

1. Conveuing of Medjation, The mediated settlement conference ordered in this case:
x was held on 5/19, o l (date)

() was NOT held because

2. Attendance

Q) No objection was made on the grounds that any required attendee was absent.

UO Objection was made by

3. Ontconie

i] Complete settiement of the case

(] Conditional settlement or other disposition

] Recess {7.¢., mediation to be re

O impasse
U- Additional Information: Dillon | Eat DI2. Alas 4 i f L 1D
4. Settlement Filings. Qover n TOV S .

(2) The document(s) to be filed to effect.the settlemens ae _ Sh
Qll claus worth prewdice Aen ‘DTDIe Alana ch

(b) The person responsible for filing the“document(s) is Anis

(c} The agreed deadline for fling the document(s) is

Submission of Report. Please submit the completed and signed report by mail to Clerk of Court, 324 W.
Market St., Greensboro, NC 27401, or, if a Consent to Transfer Documents Electronically Form has been
submitted, submit the signed report to medclerk@ncmd.uscourts.gov.

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I have submitted thisypompleted report with ten (10} days after conclusion of the conference.

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and <tumentt. £ aLNUr TT, 74. Filed 05/21/21 Page 10f 1

 
